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1     PETER C. ANDERSON
      UNITED STATES TRUSTEE
2     Kenneth M. Misken, Bar No. 349167
      Assistant United States Trustee
      OFFICE OF THE UNITED STATES TRUSTEE
3     411 W. Fourth Street, #7160
      Santa Ana, CA 92701-8000
4     Telephone: (714) 338-3405
      Facsimile: (714) 338-3421
5     E-mail: Kenneth.m.misken@usdoj.gov
6
                         UNITED STATES BANKRUPTCY COURT
7                CENTRAL DISTRICT OF CALIFORNIA - SANTA ANA DIVISION

8     In re                          )
                                     )                    Case No. 8:23-bk-10571
9                                    )
      THE LITIGATION PRACTICE GROUP, )                    Chapter 11
      P.C.,                          )
10
                                     )                    AMENDED APPOINTMENT AND
                          Debtor.    )                    NOTICE OF APPOINTMENT OF
11                                   )
                                     )                    OFFICIAL COMMITTEE OF
12                                   )                    UNSECURED CREDITORS
                                     )
13                                   )
14
              Pursuant to 11 U.S.C. § 1102(a), the undersigned originally appointed the following five
15
      creditors to serve on the Official Committee of Unsecured Creditors on June 23, 2023 (Bankr.
16
      Docket # 134): (1) Alexandra Lutfi; (2) April Riedy; (3) Denise Burtchell; (4) Angela Dows,
17
      Esq.; and (5) Thomas Ray.
18
              The following additional members are being appointed to the Official Committee of
19
      Unsecured Creditors:
20
              (6) Affirma, LLC; and
21
              (7) Abigail R. Beaudin
22

23
      Dated: June 29, 2023                                 Respectfully submitted,
24                                                         PETER C. ANDERSON
                                                           UNITED STATES TRUSTEE
25
                                                           By: /s/ Kenneth M. Misken
26
                                                                   Kenneth M. Misken
27                                                                 Assistant U.S. Trustee

28
                                                      1
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:

                         OFFICE OF THE U.S. TRUSTEE, 411 West 4th St., #7160 Santa Ana, CA 92701

A true and correct copy of the foregoing document entitled (specify): AMENDED APPOINTMENT AND NOTICE OF
APPOINTMENT OF OFFICIAL COMMITTEE OF UNSECURED CREDITORS will be served or was served (a)
on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
June 29, 2023, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:
      Eric Bensamochan eric@eblawfirm.us, G63723@notify.cincompass.com
      Ronald K Brown ron@rkbrownlaw.com
      Christopher Celentino christopher.celentino@dinsmore.com, caron.burke@dinsmore.com
      Shawn M Christianson cmcintire@buchalter.com, schristianson@buchalter.com
      Randall Baldwin Clark rbc@randallbclark.com
      Leslie A Cohen leslie@lesliecohenlaw.com, jaime@lesliecohenlaw.com;clare@lesliecohenlaw.com
      Christopher Ghio christopher.ghio@dinsmore.com
      Jeffrey I Golden jgolden@go2.law,
        kadele@ecf.courtdrive.com;cbmeeker@gmail.com;lbracken@wgllp.com;gestrada@wgllp.com;golden.jeffreyi.b1
        17954@notify.bestcase.com
       Richard H Golubow rgolubow@wghlawyers.com, jmartinez@wghlawyers.com;svillegas@wghlawyers.com
       D Edward Hays ehays@marshackhays.com,
        ehays@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com;cmendoza@marshackhays.com;cmendoza@ecf.courtd
        rive.com
       Alan Craig Hochheiser ahochheiser@mauricewutscher.com, arodriguez@mauricewutscher.com
       Garrick A Hollander ghollander@wghlawyers.com, jmartinez@wghlawyers.com;svillegas@wghlawyers.com
       Joon M Khang joon@khanglaw.com
       Ira David Kharasch ikharasch@pszjlaw.com
       David S Kupetz David.Kupetz@lockelord.com, mylene.ruiz@lockelord.com
       Christopher J Langley chris@slclawoffice.com,
        omar@slclawoffice.com;langleycr75251@notify.bestcase.com;ecf123@casedriver.com
       Daniel A Lev daniel.lev@gmlaw.com, cheryl.caldwell@gmlaw.com;dlev@ecf.courtdrive.com
       Michael D Lieberman mlieberman@lipsonneilson.com
       Richard A Marshack (TR) pkraus@marshackhays.com,
        rmarshack@iq7technology.com;ecf.alert+Marshack@titlexi.com
       Laila Masud lmasud@marshackhays.com, lmasud@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com
       Kenneth Misken Kenneth.M.Misken@usdoj.gov
       Byron Z Moldo bmoldo@ecjlaw.com, amatsuoka@ecjlaw.com,dperez@ecjlaw.com
       Alan I Nahmias anahmias@mbn.law, jdale@mbnlawyers.com
       Victoria Newmark vnewmark@pszjlaw.com
       Queenie K Ng queenie.k.ng@usdoj.gov
       Teri T Pham tpham@enensteinlaw.com, 3135.002@enensteinlaw.com
       Douglas A Plazak dplazak@rhlaw.com
       Ronald N Richards ron@ronaldrichards.com, 7206828420@filings.docketbird.com
       Gregory M Salvato gsalvato@salvatoboufadel.com,
        calendar@salvatolawoffices.com;jboufadel@salvatoboufadel.com;gsalvato@ecf.inforuptcy.com
       Olivia Scott olivia.scott3@bclplaw.com
       Jonathan Serrano jonathan.serrano@dinsmore.com
       Paul R Shankman PShankman@fortislaw.com, info@fortislaw.com
            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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       Leslie Skorheim leslie.skorheim@usdoj.gov
       Andrew Still astill@swlaw.com, kcollins@swlaw.com
       United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov
       Sharon Z. Weiss sharon.weiss@bclplaw.com,
        raul.morales@bclplaw.com,REC_KM_ECF_SMO@bclplaw.com
       Johnny White JWhite@wrslawyers.com, jlee@wrslawyers.com;eweiman@wrslawyers.com

                                                                           Service information continued on attached page
2. SERVED BY UNITED STATES MAIL:
On (date) June 29, 2023, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.

Alexandra Lutfi                                          April Riedy                                    Denise Burtchell
11020 Alta Mesa Rd.                                      3949 Clubview Ave.                             185 Old Canterbury Tpke
Victorville, CA 92392                                    West Bloomfield, MI 48324                      Norwich, CT 06360

Thomas Ray                                               The Litigation Practice Group                  Abigal R. Beaudin
2312 Platinum Dr.                                        P.C., Attn: Daniel March                       64 Thompson St. Apt. 16
Sun City Center, FL 33573                                17542 17th St, Suite 100                       New York, NY 10012
                                                         Tustin, CA 92780

Affirma, LLC                                             Angela Dows, Esq.
Attn: Rose Romo or Casear Mercardo                       1333 N. Buffalo Dr., Ste 210
PO Box 515827                                            Las Vegas, NV 89128
Los Angeles, CA 90051
                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) June 29, 2023 , I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

Judge Clarkson – bin on the 5th floor
                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 06/29/23                         Hugh M. Powell                                                /s/ Hugh M. Powell
 Date                           Printed Name                                                    Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
